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 1                                              THE HONORABLE BENJAMIN H. SETTLE

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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
8                                    AT TACOMA
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      BLAINE WILMOTTE and MADISON
10    WILMOTTE,
                                                     No. 2:18-cv-00086-BHS
11                                    Plaintiffs,
                                                     [PROPOSED]
12    v.
                                                     ORDER GRANTING STIPULATED
      NATIONAL RAILROAD                              MOTION FOR LEAVE TO AMEND
13                                                   COMPLAINT
      PASSENGERCORPORATION d/b/a
14    AMTRAK,

15                                   Defendant.

16    DALE SKYLLINGSTAD, individually,

17                                     Plaintiff,

18    v.

19    NATIONAL RAILROAD PASSENGER
      CORPORATION d/b/a AMTRAK,
20
                                     Defendant.
21

22         This matter having come before the Court on the Stipulated Motion for Leave to

23   Amend Complaint, and the Court, having considered the stipulated Motion, the

24   Declaration of K. Riddle, and having found good cause for the requested relief,
25         It is hereby ORDERED that:
            Case 2:18-cv-00086-BHS Document 157-1 Filed 01/21/20 Page 2 of 2



 1          1.        The stipulated Motion for leave to Amend Complaint is GRANTED.

 2          2.        Plaintiff is hereby grated leave to file his Amended Complaint upon entry
 3   of this Order.
 4          DATED this ____ day of ____ 2020.
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                                                 THE HONORABLE BENJAMIN H. SETTLE
10                                               UNITED STATES DISTRICT COURT JUDGE
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